      Case 5:21-cv-00844-XR Document 1148 Filed 07/25/24 Page 1 of 1
       Case: 23-50885      Document: 152      Page: 1       Date Filed: 07/25'  20^ / £
                                                                                    •'"t 25 2024
                      United States Court ofAppeals
                                      FIFTH CIRCUIT                    By
                                   OFFICE OF THE CLERK

LYLE W.CAYCE
                                                                         TEL.   504-310.77i&6p[}^
CLERK
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                                                                      NEW OR].EANS,LA 70130


                                   July 25, 2024

MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

      No. 23-50885        USA V. Paxton                     (p
                          USDC No. 5:21-CV-844-^/'^

The court has granted the motion of Ryan Mackenzie                              Proctor     to
withdraw as counsel.



                                       Sincerely,

                                       LYLE W, CAYCE, Clerk

                                                      £-■
                                       By:
                                       Lisa E. Ferrara, Deputy cierx
                                       504-310-7675

Ms. Alyssa G. Bernsein
Ms.   Tovah Calderon
Mr. Dayton Campbell-Harris
Mr. Louis Joseph Capozzi III
Mr. Adriel I. Cepeda Derieux
Mr.   William Francis      Cole
Mr. Philip Devlin
Brian Dimmick
Mr.   Zachary Dolling
Mr.   Daniel    Joshua   Freeman
Mr.   John Matthew Gore
Ashley Alcantara Harris
Ms.   Kathleen Theresa Hunker
Ms.   Kateland R.     Jackson
Mr. Ryan Glen Kercher
Ms. Sophia Lin Lakin
Mr.   Jason    Lee
Mr. Christopher McGreal
Mr. Aaron Lloyd Nielson
Ms.   Lanora Christine      Pettit
Mr. Ryan Mackenzie Proctor
Mr. Ari J. Savitzky
Mr. Andre Segura
Mr.   William D.     Wassdorf
Mr. Coy Allen Westbrook
